                Case 5:22-cv-00285-JLS Document 11 Filed 02/17/22 Page 1 of 2




                            UNITED ST ATES DISTRICT COURT
                          EASTERN DISTRICT OF PENNSYLVANIA

  GREGORY V. MANCO, Ph.D. ,

                         Plaintiff,

           V.                                           CIVIL ACTION NO. 5:22-CV-00285

 ST. JOSEPH ' S UNIVERSITY,
 HADASSAH COLBERT, KIERNAN
 LOUE, L YNL Y CARMAN , DR. SUSAN
 UEBELL, KARLElGH LOPEZ, ERIN
 FAHEY

                         Defendants.

                        STIPULATION FOR AN EXTENSION OF TIME

         It is hereby stipulated and agreed among Defendant Hadassah Colbert, Defendant Kiernan

Loue, Defendant Karleigh Lopez, and Plaintiff Gregory V. Manco, Ph.D. ("Plaintiff'), through

their duly authorized counsel , that Defendants Colbert, Loue, and Lopez shall have an extension

of time through April 18, 2022 to answer, move, or otherwise plead in response to Plaintiffs

complaint. This is the first stipulation of extension of time; no prior extension has been granted .



                   [SIGNATURES CONTAINED ON THE FOLLOWING PAGE]




FP 43119599 .1
                 Case 5:22-cv-00285-JLS Document 11 Filed 02/17/22 Page 2 of 2




Respectfully submitted,


FISHER & PHILLIPS LLP                           ZARWIN, BAUM, DEVITO, KAPLAN,
                                                SCHAER & TODDY, P.C.

  Isl Deniz Uzel Reilly                          Isl Zachary A. Silverstein
 Deniz Uzel Reilly, Esquire                     Zachary A. Silverstein, Esquire
 Two Logan Square                               2005 Market Street
 12 th Floor                                    16th Floor
 I 00 N. I 8th Street                           Philadelphia, PA 19103
 Philadelphia, Pennsylvania 19103               zs ilverste in (al,zarwin.com
clrci Ily(Zi~fishc rphi 11 ips.com
                                                Attorney for Plaintiff
Attorney for Defendants                         Gregory V Manco, Ph.D.
Hadassah Colbert; Kiernan Loue, Karleigh
Lopez, and Erin Fahey




                                                 SO ORDERED AND APPROVED:




                                                              .SCHMEHL
                                                             TATES DISTRICT JUDGE


                                                 Date:   r£/J, I 7 , 2 .P-' :i_
                                                                         I




                                            2
FP 43119599 .1
